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                                     ID #844



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JIM PAUL STEENKEN,

Defendant.                                                 No. 08-30170-DRH

                                      ORDER

HERNDON, Chief Judge:

               Pending before the Court is the Defendant’s motion to modify

conditions of pretrial release (Doc. 284). Specifically, Defendant requests that his

conditions of bond be modified to allow him to travel outside the state of Arizona for

work as a driver for Werner Trucking Company. The Government does not oppose

the motion. Thus, the Court GRANTS the motion. The Court MODIFIES the

conditions of bond to allow Defendant to travel outside the state of Arizona for work

purposes.

             IT IS SO ORDERED.

             Signed this 26th day of October, 2009.


                                                     /s/    DavidRHer|do|
                                                    Chief Judge
                                                    United States District Court
